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5
     ZACHERY BASTIEN
6

7

8                                  UNITED STATES DISTRICT COURT

9                                 EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            Case No.: 2:16-cr-224 GEB
12
                    Plaintiff,
13
     vs.                                                  STIPULATION AND [PROPOSED] ORDER
14                                                        CONTINUING STATUS CONFERENCE
     ZACHERY JOSEPH BASTIEN,
15
                                                          Date:       July 12, 2019
16
                    Defendant.                            Time:        9:00 a.m.
17                                                        Court:      Hon. Garland E. Burrell, Jr.

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19

20
            It is hereby stipulated and agreed by and between plaintiff United States of America, on
21
     the one hand, and Defendant Zachery Bastien, on the other hand, through their respective
22
     attorneys, that the status conference presently set for June 14, 2019, at 9:00 a.m., be continued
23
     by the Court to July 12, 2019, at 9:00 a.m., to allow defense counsel to review with his client a
24
     proposed resolution offer provided by the United States, to continue research regarding the
25
     potential consequences of the recently enacted First Step Act, and to respond to the client’s questions
26
     about the First Step Act’s impact on sentencing options available to him, and to otherwise prepare
27
     ORDER CONTINUING STATUS
28   CONFERENCE
                Case 2:16-cr-00224-DAD Document 60 Filed 06/13/19 Page 2 of 3


1
     Mr. Bastien’s matter for a potential change of plea hearing.
2
              This case involves, among other allegations, that Mr. Bastien participated in a conspiracy to
3
     structure monetary transactions (18 U.S.C.§ 371) and actual structuring of monetary transactions (31
4
     U.S.C. § 5324(a)(3)). The matter is set as for a jury trial scheduled to begin on January 21, 2020,
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     with a Trial Confirmation Hearing set for December 6, 2019. This stipulation does not alter those
6
     dates.
7
              Mr. Bastien’s counsel is requesting continuance of the status conference. The government
8
     does not oppose the request to continue the status conference. Time under the Speedy Trial Act has
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10
     previously been excluded, up to and including, the January 21, 2020 trial date (ECF Entry 58). No

11   additional finding is necessary regarding exclusion of time.

12            Assistant U.S. Attorney Kevin Khasigian authorized Attorney Todd D. Leras via email to

13   sign this stipulation on his behalf.

14

15            Dated: June 12, 2019                           /s/ Todd Leras
                                                             ___________________________
16                                                           TODD LERAS
                                                             Attorney for defendant
17                                                           ZACHERY BASTIEN
18

19            Dated: June 12, 2019                           MCGREGOR W. SCOTT
                                                             United States Attorney
20

21                                                           /s/ Kevin Khasigian
                                                     By:     _______________________
22                                                           KEVIN KHASIGIAN
                                                             Assistant United States Attorney
23                                                           (Per email authorization)
24

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27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:16-cr-00224-DAD Document 60 Filed 06/13/19 Page 3 of 3


1
                                                         ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order. It is
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     hereby ORDERED that the presently set June 14, 2019, at 9:00 a.m., status conference hearing
5
     shall be continued to July 12, 2019, at 9:00 a.m.
6
            Based on the previous exclusion of time requested by defense counsel, up to and
7
     including the presently-scheduled jury trial date of January 21, 2020, no further finding is
8
     required regarding time under the Speedy Trial Act.
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                    IT IS SO ORDERED.

11          Dated: June 13, 2019

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     ORDER CONTINUING STATUS
28   CONFERENCE
